                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                           3:07CV209-W-02
                            (3:03CR181-W)


ROBERT ANTHONY THOMPSON,  )
     Petitioner,          )
                          )
       v.                 )                   ORDER
                          )
UNITED STATES OF AMERICA, )
     Respondent.          )
__________________________)

     THIS MATTER comes before the Court on the petitioner’s so-

called “Motion For Relief By A Person In Federal Custody Pursuant

To 28 USCS §2255” (document # 1), filed May 21, 2007; on the

“Government’s Response To Petitioner’s Motion To Vacate His

Sentence” (document # 3), filed September 19, 2007; and on the

petitioner’s “Motion For Leave To File ‘Supplemental Motion To

Vacate Set Aside Or Correct A Sentence . . . ““ (document # 9),

filed October 29, 2007.

     After having carefully reviewed the petitioner’s Motion, the

government’s Response and the record of his criminal case, along

with the relevant legal precedent, the Court concludes--out of an

abundance of caution-- that the petitioner’s Motion to Vacate

should be granted, but only for the purpose of allowing him to

timely pursue a direct appeal of his underlying criminal case.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

     Pertinent to the instant Motion, on October 28, 2003, a Bill



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of Indictment was filed, charging the petitioner (and six others)

with conspiring to possess with intent to distribute at least

five kilograms of powder cocaine and at least 50 grams of crack

cocaine, all in violation of 21 U.S.C. §§841 and 846.           The peti-

tioner also was charged with possession with intent to distribute

500 grams or more of cocaine, in violation of 21 U.S.C. §841

(Count Eight).   The Indictment also gave a Notice of Forfeiture,

alleging that certain of the petitioner’s property was subject to

forfeiture under 21 U.S.C. §853 by virtue of the petitioner’s

drug dealing activities.

     In addition to the foregoing, on the same date of October

28, 2003, the government filed an Information pursuant to 21

U.S.C. §851, asserting that the petitioner earlier has sustained

three drug trafficking convictions in the Superior Courts of

North Carolina and one in the United States District Court for

the Western District of North Carolina.       Such Notice, therefore,

made the petitioner subject to enhanced sentencing in the event

that he was convicted on the charges which then were pending

against him.

     On October 19, 2004, the petitioner appeared before the

Court and entered “straight-up” guilty pleas to the two charges

pending against him. On that occasion, the Court engaged the

petitioner in its standard lengthy plea colloquy to ensure that

he was knowingly and voluntarily tendering his pleas.           After


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considering the petitioner’s answers to all of its questions, the

Court decided that the guilty pleas should be accepted, and so it

conditionally accepted the pleas.

     More than a year later, the petitioner submitted a pro-se

letter which was filed with the Court on November 8, 2005.             The

petitioner’s letter asserted that his attorney had been ineffec-

tive for his alleged failure to, among other things, object to

certain calculations in his Pre-Sentence Report.          Although the

inquiry to status of counsel hearing revealed that the peti-

tioner’s complaints related exclusively to counsel’s alleged

failure to oppose the forfeiture of his property, the Court still

decided to relieve the petitioner’s first attorney from repre-

sentation and to appoint replacement counsel.

     On July 17, 2006, the government filed a “Notice Of With-

drawal Of Paragraphs 2-4 Of The 21 U.S.C. § 851 Notice.”            By that

document, the government withdrew its §851 Notice concerning

three of the petitioner’s four prior convictions, thereby expos-

ing him to the lower 20-year statutory mandatory minimum term,

and lowering his sentencing range from 360 months to life down to

235 to 293 months.

     In any case, on July 17, 2006, the Court conducted a Factual

Basis and Sentencing Hearing at which the petitioner was repre-

sented by replacement counsel.     At the outset of that proceeding,

the Court posed several questions to the petitioner concerning


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his tender of his guilty plea.     As a result of the petitioner’s

answers, the Court unconditionally accepted the petitioner’s

guilty pleas.

     Next, the Court turned to the petitioner’s multiple objec-

tions to his Pre-Sentence Report.       However, defense counsel

conceded that most, if not all, such objections essentially were

mooted by the fact that the petitioner’s convictions, when

coupled with his prior convictions, exposed him to a statutory

mandatory term of life imprisonment; and the fact that the

government was going to be asking the Court to depart downward to

a level which would be below any sentence the petitioner could

have received if his objections were granted.         Notwithstanding

defense counsel’s concession, the Court addressed the petition-

er’s objection to the leadership enhancement as recommended in

his Pre-Sentence Report and, ultimately, granted that objection.

     Thereafter, the Court took up the government’s            Motion for

Downward Departure pursuant to United States Sentencing Guide-

lines §5K1.1.   Such Motion noted that the petitioner’s pre-

departure Total Offense Level was 41, his Criminal History

Category was VI, and his sentencing range was a term of 360

months to life imprisonment.     Furthermore, the Motion noted that

the petitioner had provided substantial assistance; it reported

that the petitioner was subject to a statutory mandatory term of

20 years imprisonment; and it recommended that the Court impose


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that 20 year sentence.    Following that, the parties discussed the

forfeiture matters and stipulated to the Preliminary Judgment of

Forfeiture for property belonging solely to the petitioner.

     Ultimately, the Court announced two 240-month concurrent

sentences for the petitioner.     The Court’s Judgment was filed

August 4, 2006.   The petitioner did not directly appeal his

conviction or sentence.

      Rather, on May 22, 2007, the petitioner filed the instant

Motion to Vacate.    By his Motion, the petitioner sets forth

several claims against his former attorneys, and he argues that

the Court committed error in its sentencing calculations.            Rele-

vant here, one of the petitioner’s claims against the attorney

who represented him at sentencing is that counsel was ineffective

for having failed to honor his request for an appeal.           In par-

ticular, the petitioner claims that “after sentencing,” he asked

his attorney to file a direct appeal, but counsel ignored his

request.   Furthermore, the petitioner alleges that “[a] few days

later,” he again asked his attorney to file and appeal; and that

counsel told the petitioner that he would file the appeal after

the petitioner arrived at his designated prison facility.

     For his part, counsel for the government filed a Response in

which he reports that in an attempt to address the petitioner’s

claims, he requested a response from former counsel, but counsel

has failed to honor that request.       Thus, counsel for the govern-


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ment concedes that the critical question of whether defense

counsel was ineffective for failing to honor the petitioner’s

request for an appeal should, for the sake of simplicity, be

decided in the petitioner’s favor.

                               II.   ANALYSIS

     In United States v. Peak, 992 F.2d 39, 42 (4th Cir. 1993),

the Fourth Circuit held that an attorney’s failure to file an

appeal, when requested by his client to do so, is per se

ineffective assistance of counsel-–irrespective of the merits of

the appeal.    See also Evitts v. Lucey, 469 U.S. 387, 391-05

(1985) (same); and United States v. Witherspoon, 231 F.3d 923

(4th Cir. 2000) (discussing when failure to consult with client

concerning whether to appeal constitutes ineffective assistance).

     More recently, in United States v. Poindexter, 492 F.3d 263,

267 (4th Cir. 2007), the Fourth Circuit reaffirmed its holding

from Peak, there agreeing with the petitioner’s assertion that

“an attorney who disregards his client’s unequivocal instruction

to file a timely notice of appeal acts in a manner that is both

professionally unreasonable and presumptively prejudicial.”               In

fact, the Poindexter Court stated that counsel’s conduct would be

prejudicial under those circumstances, notwithstanding whether

the proposed appellate claim(s) involved a matter which was

covered by a waiver provision, or the probable lack of success of

such an appeal. 492 F.3d at 273.          Essentially, the Court


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observed that while in cases such as the instant one, the peti-

tioner may be “obtain[ing] little more than an opportunity to

lose at a later date,” that is a statutory right which simply

cannot be taken away from him.        Id; see also Rodriguez v. United

States, 395 U.S. 327 (1969) (noting that defendants have an

absolute statutory right to a direct appeal).

     Additionally, the Supreme Court has ruled that even where a

defendant has not approached his attorney and specifically

directed counsel to appeal, “the better practice is for counsel

routinely to consult with the defendant about an appeal.”             Roe v.

Flores-Ortega, 528 U.S. 470, 478 (2000).        In this instance,

consult means to advise the defendant of the advantages and dis-

advantages of an appeal and make “a reasonable effort to discover

the defendant’s wishes.”       Id.   In some cases, such as where a

defendant receives a sentence which is different from what he

expected, counsel’s consultation about an appeal should occur

after the sentencing hearing has been conducted.           United States

v. Witherspoon, 231 F.3d 923, 927 (4th Cir. 2000).

     In the instant case, the petitioner has alleged that he

expressly requested an appeal on the date that he was sentenced

and on a later date, and that counsel agreed to file the appeal

for him.   However, the underlying criminal record reflects, as

the petitioner further has alleged, that counsel failed to file

that appeal.   Moreover, counsel was given an opportunity to deny,


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or to otherwise rebut the petitioner’s allegations, but counsel

has chosen to remain silent notwithstanding the consequences of

that silence.   Accordingly, in light of the relevant legal

precedent, this Court concludes that the petitioner’s Motion to

Vacate should be granted.      That is, in cases such as this one,

the prescribed remedy is to vacate the original Judgment and

enter a new Judgment from which an appeal can be taken.            Thus,

the Court will vacate its Judgment, so that the petitioner may

appeal his convictions and/or sentences.

                  III.   NOTICE OF APPELLATE RIGHTS

     Mr. Thompson, you are hereby advised that you have a right

to appeal your criminal case and any issues in it to the Fourth

Circuit Court of Appeals.      If you decide to do that, you will

have to file a Notice of Appeal with the Clerk of this District

Court within 10 days after the day your new Judgment of

conviction is filed with this Court.      Upon your request, the

Clerk can assist you in preparing your Notice of Appeal.

     If you previously were determined to be indigent in connec-

tion with your criminal case, or if you now are indigent and are

unable to pay for an appeal, you may request permission to

proceed on appeal without having to pay the applicable filing

fees.   You should discuss the question of appeal with your

attorney, if you have one.      Notwithstanding whatever he or she

may tell you, the responsibility for filing the Notice of Appeal


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remains with you, and you must file such Notice within the

aforementioned 10-day period in order to make it effective.

     Finally, inasmuch as this Court cannot reach any of the

petitioner’s other claims by virtue of its decision on the

petitioner’s Poindexter/Peak claim, the petitioner’s Motion for

Leave to Supplement will be dismissed as moot.         See United States

v. Killian, 22 Fed.Appx. 300, 301 (4th Cir. 2001)(noting that

where district court grants motion to vacate under Peak, the

court must defer ruling on petitioner’s remaining claims).

                               IV.   ORDER

     NOW THEREFORE, IT IS HEREBY ORDERED:

     1.   That the petitioner’s Motion to Vacate is GRANTED, but

only for the purpose of allowing the petitioner to timely appeal

his case;

     2.   That the petitioner’s original Judgment is VACATED due

to counsel’s failure to consult with the petitioner concerning an

appeal, or to timely file an appeal as requested by the peti-

tioner;

     3.   That the Clerk is directed to prepare a new Judgment

with the same sentences and conditions as indicated on the

original Judgment form;

     4.   That the petitioner may appeal from his new Judgment as

has been explained in this Order;

     5.   That the Clerk shall send copies of this Order to the


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petitioner and to the United States Attorney for the Western

District of North Carolina; and

     6.   That the petitioner’s Motion for Leave to File a

Supplemental Motion is DISMISSED as moot.

     SO ORDERED.



                                   Signed: November 28, 2007




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